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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                               CASE NO. 1:98-cr-00068-MMP

ANTHONY DAVIS,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 159, Motion to Continue Revocation hearing,

filed by Defendant Davis. In his motion, Defendant requests a continuance in his revocation

hearing, currently scheduled for January 17, 2007, at 10:30 a.m. Defendant is scheduled to be

arraigned in state court on the charge which gives rise to this violation on January 22, 2007, and

he seeks a continuance so that he may obtain the State’s position on underlying charge that gives

rise to the alleged violation. The government does not oppose this motion. After considering the

matter, the motion is granted. Accordingly, the revocation hearing is hereby continued to Friday,

February 23, 2007, at 9:30 a.m.


               DONE AND ORDERED this            16th day of January, 2007


                                              s/Maurice M. Paul
                                         Maurice M. Paul, Senior District Judge
